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1                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
2    --------------------------X
     UNITED STATES OF AMERICA,      Docket No. 07-181
3                        Plaintiff,
                v.                  Washington, D.C.
4                                   August 28, 2009
                                    1:30 p.m.
5    ZHENLI YE GON,
                         Defendant.
6    ---------------------------X
                             STATUS HEARING
7               BEFORE THE HONORABLE EMMET G. SULLIVAN
                     UNITED STATES DISTRICT JUDGE
8    APPEARANCES:
     For the Plaintiff:    U.S. DEPARTMENT OF JUSTICE
9                          By: Mr. Paul O'Brien
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15   Proceedings recorded by mechanical stenography, transcript

16   produced by computer.

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1                             P-R-O-C-E-E-D-I-N-G-S

2                (1:30 P.M.; OPEN COURT; DEFENDANT PRESENT WITH HIS

3    ATTORNEYS.)

4                THE DEPUTY CLERK:    This is Criminal Case 07-181,

5    United States versus Zhenli Ye Gon.        This is a status hearing.

6    Would the interpreter please stand and be sworn in this case.

7    Raise your right hand, ma'am.

8                (INTERPRETER SWORN BY THE DEPUTY CLERK.)

9                THE DEPUTY CLERK:    Will the parties please introduce

10   yourselves to the Court, beginning with the Government.

11               MR. O'BRIEN:    Good afternoon, Your Honor.      Paul

12   O'Brien with the United States.        With me is Wanda Dixon, Paul

13   Laymon, Rob Stapleton and John Stevens.

14               THE COURT:    All right.    Good afternoon, Counsel.

15               MR. RETURETA:    Good afternoon, Your Honor.          Manuel

16   Retureta on behalf of Mr. Ye Gon.        With me also is Mr. Eduardo

17   Balarezo.

18               THE COURT:    Counsel.   Mr. Ye Gon, how are you?

19               THE DEFENDANT:    Good afternoon, Your Honor.

20               THE COURT:    Court notes Mr. Kramer is present also.

21               MR. KRAMER:    Yes, Your Honor, and Ms. Levick with

22   the Public Defenders Service.

23               THE COURT:    And Ms. Levick.    Welcome to the Court.

24   Let me put a couple of things on the record before we proceed

25   any further.
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1               Last Tuesday, the 25th, the Court held a brief

2    status conference for purposes of discussing with the parties

3    whether additional briefing was appropriate on a couple of

4    issues that the Court had raised.

5               The Court noted that it had had focused on unique

6    circumstances of this case and wanted the parties to address

7    those factors in the context of Rule 48(a) case law in an

8    effort to enable the Court to determine whether those factors

9    made it appropriate for dismissal with prejudice in this case.

10              As part of that discussion with the parties, the

11   Court realized that there were certain things that could not

12   be discussed on the public record.        Unfortunately, at that

13   time, going immediately into a sealed hearing was not an

14   option; in part, because the Court had a number of other

15   matters scheduled.     Counsel for the parties were not available

16   later that afternoon, understandably so, so the Court held a

17   brief sealed status conference the following day, the 26th.

18              At that conference, the Court said that it intended

19   and the Court still intends to, if appropriate, release a

20   version of that transcript with appropriate redactions but not

21   until counsel have had an opportunity to review the transcript

22   and the proposed redactions.

23              Now, during that sealed status conference, there was

24   a further discussion by the Court of the case law dealing with

25   Rule 48(a) dismissal.     There was not a hearing.       The Court did
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1    all the talking for the most part.

2               The Court noted that this is, as the parties

3    recognize, an atypical case.       The parties recognized in their

4    briefs that there are not many cases dealing with dismissal

5    under Rule 48(a) and certainly none that have been cited that

6    involve a dismissal so that a foreign company, a foreign

7    government is enabled to prosecute the Defendant, and indeed,

8    this Court's independent research has not revealed any cases

9    that are comparable.

10              As a result, the Court questioned whether it might

11   not be appropriate, pursuant to Poindexter and that line of

12   cases, to dismiss this case with prejudice based on several of

13   the unusual, indeed unique circumstances of this case,

14   including that Mr. Ye Gon has been incarcerated and indeed

15   incarcerated under what no one disputes are harsh conditions

16   for more than two years; that the Court granted the

17   Government's request for waivers of time under the Speedy

18   Trial Act for two years and because the Government faces a

19   number of evidentiary challenges, including in addition to

20   those raised in their motion, the inability to obtain evidence

21   from Mexico and depose witnesses in China.

22              As a follow-up to the question the Court had posed

23   to the Government the day before regarding whether there was a

24   chance the Government would move to dismiss with prejudice,

25   the Court inquired as to whether the Government would oppose a
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1    dismissal with prejudice under Rule 48(a) based on these

2    rather unique and compelling circumstances.

3               Mr. O'Brien, speaking for the Government, agreed

4    that those factors were indeed highly relevant to a 48(a) --

5    48(a) analysis and indicated that he wanted a brief period of

6    time to consider and indeed discuss the Government's position

7    with his colleagues with respect to a dismissal with prejudice

8    based on those factors.

9               And, therefore, the Court scheduled today's status

10   hearing and here we are.

11              Mr. O'Brien.

12              MR. O'BRIEN:    Good afternoon, Your Honor.

13              THE COURT:    Good afternoon, Counsel.

14              MR. O'BRIEN:    First, thank you for setting a status

15   conference today.     I know you did so to accommodate us, and we

16   appreciate that.    I'd like to take just a moment to discuss

17   what the Government's position in this case is --

18              THE COURT:    Sure.

19              MR. O'BRIEN:    -- concerning, in our view, the only

20   issue before the Court is whether the indictment is dismissed

21   with or without prejudice.

22              We moved to dismiss the indictment.        I think that's

23   lost on some folks, and it was our motion to dismiss it.          The

24   issue before the Court is whether it's with or without

25   prejudice.
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1               I wanted to just back up and talk about a couple of

2    the factors, why we moved to dismiss the indictment.              I think

3    it's important to get that on the record, and also important

4    to mention those factors because it relates to what the Court

5    cited from the Poindexter case, which is one of the few cases

6    that really deals with this particular issue, and it is

7    analogous in some respects, and I think the Court accurately

8    was aware of that.

9               We moved in June of this year, specifically on

10   June 22nd, pursuant to Rule 48(a), to dismiss the indictment

11   without prejudice, and we did so, as we outlined in our

12   pleadings, for a number of reasons.

13              One, as we indicated, the Government of Mexico has

14   certainly a significant interest in this case and certainly a

15   significant interest in prosecuting the Defendant.          As the

16   Court's aware, we outlined in our pleadings, Mr. Ye Gon, upon

17   extradition to Mexico, is facing very serious charges in

18   Mexico based on the conduct which is alleged in the Mexican

19   extradition request.

20              As we've also pointed out, the Government of Mexico

21   has filed an ample and certainly a well documented extradition

22   request which lays out, in our view, the compelling evidence

23   that they intend to use in their extradition proceeding and

24   prosecution of Mexico.     And I think, real importantly, and

25   again, I regret that I wasn't here the first day that this
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1    issue came up with the Court, it was unfortunate I was out of

2    the District, but really the thrust of the matter for us, Your

3    Honor, is we looked at it, and as we said in our paper, we

4    balanced the relative strengths and weaknesses of the American

5    and Mexican prosecutions, as well as the strong interest of

6    Mexico in pursuing a case against its citizen for conduct that

7    occurred, in part, in their country, and based on that

8    analysis, the weighing of both cases and the strengths and

9    weaknesses of the case, and certainly this court is well aware

10   of the challenges and the difficulties in this case, we made

11   that analysis and we believed that we would defer.

12              It was in the Department's interest or the

13   Government's interest to defer to Mexico and let them take

14   priority in this matter and let them prosecute Mr. Ye Gon.

15   Certainly that was important to our collaborative efforts with

16   the government of Mexico, which everybody is aware of.

17              I mention that, Your Honor, because the prosecution

18   in this matter was brought in good faith, and more

19   importantly, the motion to dismiss was brought for the reasons

20   that I've mentioned today and also for the reasons that were

21   mentioned in our pleadings.      That was and remains today the

22   motivation of the United States in moving to dismiss this

23   case.

24              I say that, A, first, because that's important to me

25   that we have that discussion with the Court; and secondly, as
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1    the Court pointed out, even in Poindexter, where the Court

2    went to lengths to note that the good faith of the independent

3    counsel was in question, the Court still, in the exercise of

4    its discretion, dismissed the indictment with prejudice in

5    that case over the objection of the United States, so we're

6    acting in good faith in this instance, Your Honor.

7               In looking at this where the Court talked to us --

8    and I'm not going to mention, obviously, all the factors that

9    the Court mentioned -- the fact -- and we certainly appreciate

10   that the Court provided us with its preliminary thoughts in

11   this matter in framing the issues, and we acknowledge, we

12   acknowledge this case, Your Honor, that because we're moving

13   to dismiss the indictment to allow another jurisdiction or

14   another entity to prosecute Mr. Ye Gon, which is certainly

15   somewhat unique in this case, as the Court mentioned, that

16   because that's the basis and the motivation to dismiss the

17   case and he's going to be subject to prosecution, in our view,

18   in Mexico, we accept, we accept today that the Court has the

19   discretion under that factor alone to dismiss the indictment

20   with prejudice.

21              And I think the language in Poindexter, I think

22   that's consistent with some of the language that the Court

23   quoted in Poindexter.     We fully expect, we fully expect that

24   this defendant's going to be extradited and face charges in

25   Mexico.   As such, if he's extradited or when he's extradited
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1    to Mexico, he's facing very serious charges and he's facing a

2    significant period of incarceration if convicted in Mexico.

3    As such, under those circumstances, we do not intend on

4    pursuing the matter further.

5                Now, if that is the basis in which the Court, as we

6    discussed recently, if that's the basis in which the Court is

7    going to dismiss the indictment with prejudice and that would

8    bring to a close the litigation in this matter, and I mean all

9    of the litigation in this matter, including the issues raised

10   by the Court, the issues raised by the Defense, that we

11   acknowledge that the Court has the authority to dismiss the

12   indictment for that basis and we don't see why we wouldn't be

13   satisfied with that outcome today, and we think this should be

14   done today.

15               I think there needs to be closure in this case, and

16   I don't think the Court would disagree with me on that, both

17   for the Government, the Court and the Defendant.          It needs to

18   be brought to a resolution.

19               That being said, Your Honor, I want to be very clear

20   about just a couple of points.       First, as the Court knows and

21   I said this recently and I said it throughout the proceedings,

22   we feel very strongly that there was not prosecutorial

23   misconduct in this case, and if the Court intends on entering

24   an order or an opinion discussing the disclosure or Brady

25   violations in this case, we are prepared to litigate it fully
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1    and we cannot accept the dismissal on that basis or basis that

2    lays out misconduct against the United States and its

3    representatives, because we feel strongly there was no

4    misconduct in this case and we didn't violate our disclosure

5    obligations.

6                Now, we fully briefed the matter.        I think those

7    briefs speak for themselves.       They were hopefully forceful in

8    nature but also respectful, and as I said recently, we take

9    these matters seriously.      I know the Court takes these matters

10   seriously, I know that particularly well, but again, we feel

11   confident we didn't violate our disclosure obligations in this

12   particular case.

13               Second, that if we -- if we move forward today, as

14   I've discussed, that this would be the end of the litigation,

15   I have prepared an order for the Court.         It's a simple order.

16   It simply says, "The indictment is hereby dismissed with

17   prejudice pursuant to Rule 48(a).        It is so ordered."        I'll

18   show it to the Court; I'll show it to counsel.          If that is the

19   context in which we find ourselves today, I think we can bring

20   this matter to a close and simply move forward.          If I can pass

21   this to the Court.

22               THE COURT:    Thank you, Counsel.     Let me hear from

23   Defense counsel.     Let me just say that the only interest this

24   court has ever had in this case and any other case was to

25   issue an order consistent with the fair administration of
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1    justice.    That's the only interest.

2                I felt strongly that, for Rule 48(a) purposes,

3    reasons, Mr. Ye Gon was entitled to dismissal with prejudice,

4    not even focusing on other issues.        There was no need to, in

5    the Court's view, and because it seemed to me that that was

6    indeed a resolution consistent with the fair administration of

7    justice, considering all the unique circumstances, I would

8    have been remiss had I not indicated to counsel the other day

9    at the sealed hearing that the Court had given this a great

10   deal of consideration and was simply proposing that to see

11   whether or not there was any interest on the part of the

12   Government to consider a dismissal along those lines.

13               So, that's the only interest this court has ever had

14   in any case involving any issue, is to make whatever decision

15   the Court makes consistent with the fair administration of

16   justice.    Let me hear from Defense counsel.

17               MR. BALAREZO:    Can we just consult for one second?

18               THE COURT:    Sure.

19               (PAUSE.)

20               THE COURT:    You know, Counsel, you don't have to

21   huddle in front of me.      If you need a minute or two to talk to

22   your client, that's fine.       I can take a short recess.

23               MR. BALAREZO:    That's all right.     It will just take

24   a second.

25               THE COURT:    All right.
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1                (PAUSE.)

2                MR. RETURETA:    Your Honor, on behalf of Mr. Ye Gon.

3                THE COURT:    Yes, Counsel.

4                MR. RETURETA:    Clearly, and without reservation, we

5    do not object to a dismissal with prejudice for the reasons

6    mentioned, for other reasons that we believe very strongly, as

7    we have set forth in our pleadings in which Amici have also

8    entered their thoughts and time and effort into, we believe

9    that those matters are significant, that they are factors that

10   in the practice of criminal law in this court and in other

11   courts are things that will need to be addressed in the future

12   still.

13               We stand firmly behind our public pleadings.

14   However, the best interest of our client is first and foremost

15   and we do not object to a dismissal with prejudice as has been

16   proposed in that document that Mr. O'Brien provided.

17               THE COURT:    All right.    The question I have is where

18   does that leave the parties with respect to the civil

19   proceedings?    And I don't -- I don't plan to attempt to broker

20   any resolution of that.      My recollection is that the parties

21   were engaged in discussions about a resolution of issues at

22   one point.    I don't know if you still are or not.

23               MR. RETURETA:    Well, this has kind of consumed our

24   time, if we're both on the same page.         There is also an

25   outstanding return of property issue that we're discussing,
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1    but I think --

2                MR. O'BRIEN:    Judge, if I can speak to that.         One

3    other point I just wanted to be clear.         The Court mentioned

4    difficulties with obtaining evidence in Mexico and China.

5    That really wasn't a factor for us, and I just wanted the

6    Court to be aware of that.

7                As to the motion for return of property, which is

8    pending, the rule is very clear that that has to be filed in

9    the district where the property was seized, and in this case

10   there really was only some small personal effects, to my

11   understanding, seized from Mr. Ye Gon, so I think Counsel is

12   going to have to file that in the appropriate district court

13   probably in Maryland or where else the evidence was seized.

14   The Court doesn't have the authority under the rule.

15               As to the civil forfeiture matters, I can let

16   Mr. Stevens and Mr. Stapleton speak to that.          That's the area

17   that they were handling.

18               THE COURT:    Sure.   All right.    Thank you.

19               MR. STAPLETON:    Your Honor, I'd say about seven,

20   maybe eight weeks ago we contacted Defense counsel who are now

21   representing Mr. Ye Gon in the civil proceedings to let them

22   know that under the civil rules we had to agree to dismiss the

23   case.   We cannot, because of the way the filings have

24   proceeded and the case has proceeded, the Government cannot

25   unilaterally withdraw the complaint, and we haven't heard back
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1    yet from any of the parties involved.         So that's really where

2    we stood there.     That matter should be resolved once we hear

3    back from counsel.

4                THE COURT:    All right.    Should I -- should I

5    schedule a separate status hearing in that case for -- how

6    would you like for me to proceed?        What would you like for me

7    to do?

8                MR. BALAREZO:    Your Honor, I believe we still have a

9    hearing set for the 14th that we were going to have this

10   heard.

11               THE COURT:    That's a status hearing?

12               MR. BALAREZO:    It's a status hearing.

13               THE COURT:    That's fine.    Wait a minute.     Let's see,

14   the 14th.    If it doesn't have to be the 14th, we can pick

15   another date.    I made an exception for the 14th for this

16   case because of the contested nature and I had to block a time

17   available, but I didn't bring my calendar in.

18               THE DEPUTY CLERK:     I have Carol's.

19               THE COURT:    Okay.   I'm sitting the other days --

20   other days that week, Counsel.       The 16th is probably not a

21   good day, is it?

22               I've got closing arguments in a case that day, in a

23   nonjury case, Counsel, at 11:00 o'clock.

24               10:30, a status hearing on the 16th of September?

25   Is that a bad date or a bad time for anyone?
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1                MR. RETURETA:    That's good, Your Honor.

2                MR. BALAREZO:    I have a matter at that time with

3    Judge Collyer at that hour, 10:30.

4                THE COURT:    At 10:30.    Let's do it at 10:00 o'clock

5    then.   It's not going to take that long, I don't think.           I'm

6    not going to hold her up.       10:00 o'clock on the 16th.

7                MR. RETURETA:    And Your Honor, that will vacate the

8    14th?

9                THE COURT:    Yes, the 14th is off.      I just carved

10   that out because we were going to be here for a while arguing

11   about all sorts of matters.       And so the record is clear,

12   because the Court also agrees that dismissal under 48(a) is

13   appropriate with prejudice, there's no need for this court to

14   reach any other issue in this case, and you know, conclusion

15   means conclusion.     All matters are resolved as far as this

16   court is concerned.

17               I'm glad I broached the subject and I'm glad that

18   the Department of Justice considered -- I applaud the

19   Government's decision.      I think that the Government's decision

20   is indeed consistent with the fair administration of justice,

21   and I, without any reservations whatsoever, approve it and

22   we'll dismiss this case with prejudice.

23               So, you often don't have a lot of good things to

24   report to Mr. Holder, but tell him I'm delighted with this

25   decision.    It's really consistent with the fair administration
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1    of justice and thank you for taking the time.          I know this is

2    with some sacrifice and I recognize that, and I apologize for

3    that.

4                MR. O'BRIEN:    We'll be happy to pass that on, Your

5    Honor.   Thank you.

6                THE COURT:    All right.    Okay.    Thank you.   Anything

7    further we need to discuss?

8                MR. O'BRIEN:    I don't think so.

9                THE COURT:    All right.    Thank you.    Everyone have

10   a -- Ms. Levick, let me thank the Public Defenders Service.

11   Your brief was excellent.       I did read it.     I considered it,

12   and I considered all the pleadings in this case.

13               Mr. Kramer, thank you as well, but for all the

14   reasons I articulated, there was not a need to reach all those

15   other issues and the case is dismissed.

16               Mr. Ye Gon, I wish you well.        I think you'll be back

17   before me in the civil case; is that correct?

18               MR. BALAREZO:    That's correct.

19               THE COURT:    So we'll talk again on the 16th at

20   10:00 o'clock.     I believe that's it.

21               MR. O'BRIEN:    Judge, there is another matter, I

22   guess the Wong matter.      If I could be excused and turn that

23   over to Mr. Stevens, I think this will take just a moment

24   because I think the position is consistent.

25               THE COURT:    All right.    That's fine, Counsel.      Thank
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1    you.   Mr. O'Brien, thank you very much.

2                Take care, sir.     We'll talk again in September.

3    Criminal case against you is dismissed with prejudice, all

4    right.

5                THE DEFENDANT:    Thank you, Your Honor.

6                (PROCEEDINGS END AT 1:53 P.M.)

7                                    *-*-*-*

8

9                           CERTIFICATE OF REPORTER

10               I, Catalina Kerr, certify that the foregoing is a

11   correct transcript from the record of proceedings in the

12   above-entitled matter.

13

14

15   ________________________________ ____________________
     Catalina Kerr                     Date
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